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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 WILLIAM PRATT, JR.,                                    )
                                                        )
                        Plaintiff,                      )
         v.                                             ) Case No. 1:17-cv-00127-VAC-CJB
                                                        )
 MIDLAND FUNDING LLC,                                   )
 a Delaware limited liability company,                  )
                                                        )
 and                                                    )
                                                        )
 LYONS, DOUGHTY AND VELDHUIS, P.A.,                     )
 a Delaware professional association,                   )
                                                        )
                        Defendants.                     )


                           STIPULATION AND PROPOSED ORDER

 IT IS HEREBY STIPULATED AND AGREED to by the Plaintiff William Pratt, the Defendant
 Midland Funding, LLC, and the Defendant Lyons, Doughty and Veldhuis, P.A, by and through their
 attorneys, that the above-captioned action, including any and all cross claims and counterclaims, shall
 be and hereby is dismissed with prejudice, and that a judgment of dismissal with prejudice may be
 entered in the case.
                                 [SIGNATURES ON NEXT PAGE]
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                                      LAW OFFICE OF MARY HIGGINS

                                      /s/ Mary Higgins_____________________
                                      Mary Higgins, Esquire (#4179)
                                      260 Chapman Road, Suite 201
                                      Newark, DE 19702
                                      (302) 894-4357
                                      mary.higgins@letsbelegal.com
                                      Attorney for Plaintiff William Pratt

                                      MARSHALL DENNEHEY WARNER
                                      COLEMAN & GOGGIN, P.C.

                                      /s/ Armand J. Della Porta, Jr.
                                      Armand J. Della Porta, Jr., Esquire (#2861)
                                      1007 N. Orange Street, Suite 600
                                      P.O. Box 8888
                                      Wilmington, DE 19899
                                      (302) 552-4323
                                      ajdellaporta@mdwcg.com
                                      Attorney for Defendant Midland Funding LLC

                                      LYONS, DOUGHTY & VELDUIS, P.A.

                                      /s/ Stephen P. Doughty
                                      Stephen P. Doughty, Esquire (#2852)
                                      15 Ashley Place, Suite 2B
                                      Wilmington, DE 19804
                                      (302) 428-1670
                                      steved@ldvlaw.com
                                      Attorney for Defendant Lyons, Doughty &
                                      Veldhuis, P.A.

 Date: August 17, 2017


       IT IS SO ORDERED this ________ day of ________________, 2017.


                                      ________________________________
                                            J.




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